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              IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF ALABAMA
                       NORTHERN DIVISION

BRIANNA BOE, et al.       )
    Plaintiffs,           )
                          ) Civil Action No. 2:22 cv-184-LCB-CWB
and                       )
                          ) Honorable Liles C. Burke
UNITED STATES OF AMERICA, )
    Plaintiff-Intervenor, )
vs.                       )
                          )
STEVE MARSHALL, et al.,   )
    Defendants.           )

 BRIEF OF AMICUS CURIAE TEA PARTY PATRIOTS FOUNDATION,
 INC. IN SUPPORT OF NON-PARTY EAGLE FORUM OF ALABAMA’S
 OBJECTION TO AND MOTION TO QUASH DOCUMENT SUBPOENA



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Remarks by President Biden on the Continued Battle for the Soul of the Nation,

Independence    Hall,   Philadelphia   September     1,   2021   (available     at

https://www.whitehouse.gov/briefing-room/speeches-

remarks/2022/09/01/remarks-by-president-bidenon-the-continued-battle-for-the-

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                   CONFLICT DISCLOSURE STATEMENT

      Pursuant to Local Rule 7.1, Amicus Curiae Tea Party Patriots Foundation, Inc.

for purposes of its Conflict Disclosure Statement, is affiliated with the following,

organizations: Tea Party Patriots Action, Inc.

             IDENTITY AND INTERESTS OF AMICUS CURIAE1

      Amicus Curiae, Tea Party Patriots Foundation, Inc. (hereinafter “TPPF”),

submits the following Brief of Amicus Curiae in support of non-party Eagle Forum

of Alabama’s Objection to and Motion to Quash Document Subpoena (hereinafter

the “Motion”).    TPPF participates in and provides training opportunities and

educational resources to the largest network of grassroots Tea Party groups around

the country and other Americans interested in personal freedoms, economic

freedom, and a debt-free future. The core of TPPF’s mission is to teach people that

as a country, we are most free when the plain text of the Constitution is followed in

the manner understood by our Founding Fathers, including rights of free speech,

assembly and petitioning of the Government.

      In our society, all Americans are free to choose to live life as they want, as

long as they do not harm or infringe upon the rights of others. TPPF strives to address

key Constitutional matters of policy that affect the preservation of a nation where



1
 No party or counsel for any party has authored this brief in whole or in part, nor
made any monetary contribution to fund the preparation or submission of this brief.
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the principles of individual liberty are cherished and maximized, where the

Constitution is revered and upheld, and where Americans are free to pursue their

American Dream.

      Fundamental to this aim is the ability to interact with voters and legislators as

well as the right to petition our governments at the federal, state and local level

without fear that a government bureaucrat with policy preferences different from

those of TPPF, its members and donors, will improperly seek to use court processes

to scrutinize and chill such legal activities and conversations. Further still, the TPPF

itself has already once been specifically targeted by the Government for its views

and political positions during the IRS scandal of 2010.

      This brief will endeavor to aid the Court by exploring the previously unraised

Fourth Amendment prohibition of the Government’s attempt to subpoena irrelevant

documents and communications from non-parties to litigation, especially non-profit

organizations endeavoring to participate in free speech activities, such as open

discourse with legislators through petition and organizing, without fear of reprisal

from federal investigation and abuse of the civil subpoena process.




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                                       SUMMARY

      On September 1, 2022, in a speech ironically on the steps of Independence

Hall in Philadelphia, President Joe Biden declared “Donald Trump and the MAGA

Republicans represent an extremism that threatens the very foundations of our

republic.”   President Joseph     R. Biden,    Remarks by President Biden on the

Continued Battle for the Soul of the Nation, Independence Hall, Philadelphia

September     1,   2021     (available    at   https://www.whitehouse.gov/briefing-

room/speeches-remarks/2022/09/01/remarks-by-president-bidenon-the-continued-

battle-for-the-soul-of-the-nation/).     In doing so, the chief executive and law

enforcement officer called his predecessor, and the approximately seventy-four

million (74,000,000) people who voted for his predecessor ostensibly enemies of the

state. A President’s words matter. Thus, it is not surprising that the U.S. Department

of Justice would seek to obtain through the use of a non-party subpoena voluminous

records including email lists and communications of an organization that is

considered by many to be on the political right, for if they were truly engaged in an

effort to destroy the republic, it would be a dereliction of duty not to do so.2

However, no evidence of this nefarious plot exists because, of course, there is no



2
 In light of broad and fervent opposition to its subpoena, the Government has
recently narrowed its demands. However, absent judicial recognition that its actions
were impermissible, the Government is free to make further end runs around the
Fourth Amendment’s protections and may set a dangerous precedent.
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such plot. Regardless, the Government has nonetheless sought to investigate a non-

party organization whose views are currently contrary to, or at least not in line with,

the current administration. The Government seeks to conduct its investigation

through the abuse of civil discovery.

      Here, the Government is attempting to accomplish through civil procedural

means what it cannot do through criminal processes without overcoming substantial

legal protections and hurdles. The Government has attempted to impose an

unfettered litigation demand for production of documents from an organization that

is a non-party to the litigation, but with whom the current administration may have

a policy disagreement. This Court should not allow the Government to abuse civil

discovery procedures to seek unchecked confidential and protected documents of

non-profit organizations that participate in free speech, assembly and political

activity. Such an invasion of fundamental core protections enables the Government

to compile, ostensibly, what amounts to a political enemies list by scouring an

organization’s documents, communications and individuals who, as of yet, are

accused of no crime other than promoting an alleged disfavored view about whether

sterilization of children should be illegal.

      I.     THE FOURTH AMENDMENT’S PROHIBITION ON
             UNREASONABLE SEARCHES APPLIES IN THE CIVIL
             CONTEXT OF NON-PARTY SUBPOENAS.




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      Typically, the Fourth Amendment’s protections are analyzed in a criminal

context. However, by its terms the Fourth Amendment is not limited to criminal

investigations. Indeed, the Supreme Court has long held that the right to be secure

in one’s person, papers, houses and effects applies to all government searches,

subject to a few narrowly defined exceptions to the warrant requirement. Marshall

v. Barlow's, Inc., 436 U.S. 307, 312-13 (1978) (holding that the Fourth Amendment

prohibition against unreasonable searches protects against warrantless, arbitrary

intrusions by government officials during civil as well as criminal investigations.)

The United States Supreme Court has further recognized that the protections extend

beyond the home and into commercial settings. Id. at 311; Katz v. United States, 389

U.S. 347, 351 (1968) (holding the Fourth Amendment protects people, not places).

      This would have been no surprise to the framers of the Fourth Amendment or

the public at the time it was ratified. English common law had long protected against

unreasonable searches, Semayne’s Case 5 Co. Rep. 91a, 77 Eng. Rep. 194 (K. B.

1603) (holding “that the house of everyone is to him as his castle and fortress…”);

Entick v. Carrington 19 Howell’s State Trials 1029, 95 Eng. 807 (1705) (holding

general warrants to be invalid). Indeed, the writs of assistance issued by the crown

were considered general warrants and became a major point of contention in the lead

up to the American Revolution, and exactly what the Fourth Amendment of the

United States Constitution was designed to protect against. Congressional Research


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Service, The Constitution of the United States of America 1377 (2016); 10 Works

of John Adams 247-248 (C. Adams ed. 1856).

      Based on the foregoing, it is anomalous to state that a legal person (including

organizations) and its private property are only protected under the Fourth

Amendment when a person is suspected of criminal conduct. Accordingly, the

Fourth Amendment applies and should be imposed to protect against unreasonable

governmental searches through the use of a non-party civil subpoena.              The

Government’s effort to circumvent the protections guaranteed by the Fourth

Amendment in this context is a serious threat to the fundamental rights of political

organizations and their members regardless of their views or position.


      II.    PHYSICAL INTRUSION BY GOVERNMENT AGENTS IS NOT
             REQUIRED FOR GOVERNMENT CONDUCT TO BE
             CONSIDERED A SEARCH.

      Since the Fourth Amendment protects legal persons in their commercial

endeavors, the Court must determine if the Government’s conduct constitutes a

search. It has been established since Katz that the physical intrusion by a government

agent is not required for a search to have occurred. This “people not places”

approach was expounded upon in Kyllo v. United States, 533 U.S. 27, 32–33 (2001)

(holding the warrantless use of a thermal imaging device to detect activity within a

home unreasonable, and noting that a contrary holding would permit developments

in police technology “to erode the privacy guaranteed by the Fourth Amendment.”)

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As Justice Potter Stewart stated in Katz, “Wherever a man may be, he is entitled to

know that he will remain free from unreasonable searches and seizures.” 389 U.S.

359 (1968).

      Here, the Government has sought to use a civil subpoena as a procedural

mechanism to conduct a search of Eagle Forum’s papers and communications by

conscripting Eagle Forum to conduct the search for it under threat of sanction by the

Court for non-compliance. The only difference here between the typical execution

of a search and what the Government has proposed here, is that rather than use its

own power, the executive branch seeks to use this Court’s power to compel

production. “If a litigant fails to comply with an appropriate discovery request, the

Court may have to interject itself and order compliance, enforceable by the court’s

contempt powers.” Seattle Times Co. v. Rhinehart, 467 U.S. 20, 30 (1984). Thus,

there is government compulsion involved.

      Even the face of the subpoena warns about Federal “Rule 45(e) and (g),

relating to your duty to respond to this subpoena and the potential consequences of

not doing so.” The question then becomes, does Eagle Forum of Alabama have a

reasonable expectation of privacy in its communications, email lists, etc., and is that

expectation one society is willing to accept as reasonable. Katz at 361 (Harlan, J.

concurring).




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      Eagle Forum of Alabama certainly had, and has, a legitimate subjective

expectation of privacy in many of its documents and communications. One such

category of documents which establishes a privacy interest of the organization is

internal communications. The majority of the documents responsive to the subpoena

were internal documents which were never intended to be shared with outsiders or

third-parties. Cf. United States v. Miller, 425 U.S. 435 (1976). The United States

Supreme Court has held that when there is a legitimate privacy interest in a record,

a subpoena is not sufficient to compel its production. Carpenter v. United States,

138 S. Ct. 2206, 2221 (2018) (holding that a subpoena is insufficient to compel the

production of cell phone information location due to the privacy expectations of the

cell phone owner).

      The original subpoena at issue irrefutably sought information and documents

that were subject to privacy protections under the Fourth Amendment.           It is

axiomatic that the Government cannot simply conduct a warrantless search of

documents from persons without running afoul of the Fourth Amendment. Here, the

Government attempts to circumvent the protections from government overreach

afforded by the Fourth Amendment by improperly using the Court’s subpoena

authority. Such an effort is an abuse of the civil discovery process and should also

run afoul of Fourth Amendment protections.




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      III.   SEARCH OF THE RECORDS OF EAGLE FORUM IS
             UNREASONABLE AND IF ALLOWED SETS A DANGEROUS
             PRECEDENT.

      Eagle Forum of Alabama is not a party to the instant litigation, and indeed the

United States is an intervenor, not an original party. The use by the Government as

an intervenor of the civil discovery process with its extremely broad scope for its

own potentially nefarious purposes is repugnant to the protections of the Fourth

Amendment. The original unfettered demand for documents/communications from

a politically active non-party is violative enough, but when the subpoena is issued

by a Governmental intervenor, TPPF respectfully submits that the Court should

heavily scrutinize the subpoena and place a “check” on the civil process, especially

when it becomes an effrontery to the Fourth Amendment.          The conduct of the

Government here compounds the fear of TPPF that the Government will routinely

join civil lawsuits nationwide simply to compel search of documents from non-party

organizations whose views are not aligned with those of the current administration

through the civil subpoena process merely to harass them. This tactic creates a

slippery slope and dangerous precedent that should not be permitted by this Court

under the Fourth Amendment.        It is a bed rock foundation of United States

constitutional law that the touch stone of the Fourth Amendment is reasonableness.




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Florida v. Jimeno, 500 U.S. 248, 250 (1991). Discovery compelled via subpoena is

coerced production, subject to severe penalty. Fed. R. Civ. P. 45 et seq.

      All searches in the absence of a warrant are presumptively unreasonable.

Thus, the Government must overcome that presumption in order to enforce the

subpoena. This is true even if the search is executed during civil discovery as here.

The contention that the Government can obtain an organization’s private information

simply by intervening in a lawsuit involving someone else is repugnant and could

never be considered reasonable at any time in American history. Non-profit political

organizations that are dragged before the court as non-parties by Government

intervenors should be afforded an absolute expectation that their private information

is sacrosanct and free from unreasonable searches under the Fourth Amendment

absent probable cause. The Court should not entertain such sweeping constructive

or actual intrusion into private and confidential matters, no matter where an

organization appears on the political spectrum. Further, fundamental notions of

reasonableness must be most heavily weighed against Government civil subpoena

processes involving non-parties that may be deemed political targets of any

administration. The Government’s power to compel information merely as an

intervenor in a civil case simply should not outweigh non-party Constitutional rights

lest the aegis of the Fourth Amendment be entirely eroded.




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                                   CONCLUSION

      The intervenor Government’s attempt to use the civil subpoena process to

obtain records of Eagle Forum of Alabama, as a non-party, presents a direct attack

on the Fourth Amendment’s prohibition against unlawful searches and seizures and

should be disallowed by this Honorable Court.

      Respectfully submitted, this 13th day of October 2022.



                                                    /s Algert S. Agricola, Jr.
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                          CERTIFICATE OF SERVICE

      I certify that on October 13, 2022, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system, which will send notification of

such filing to all counsel of record.

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                                /s Algert S. Agricola, Jr.
                                 Counsel for Amicus Curiae Tea Party
                                 Patriots Foundation, Inc.




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